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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART
                                         /


                                     FINAL JUDGMENT
                     (In Certain Non-Brand, Non-Designated Cancer Cases1)

          By Order dated December 30, 2020, this Court dismissed all claims asserted in the Master

   Personal Injury Complaint against the Generic Defendants, Repackager Defendants, Retailer

   Defendants, and Distributor Defendants as preempted under federal law (collectively, the “Non-

   Brand Defendants”). [DE 2512; 2513]. By Orders dated June 30, 2021, and July 8, 2021, this

   Court dismissed with prejudice all claims asserted in the Amended Master Personal Injury

   Complaint against the Generic Defendants as preempted by federal law. [DE 3716; 3750]. The

   Court also dismissed the remaining claim pending against the Retailer and Distributor

   Defendants as implausibly pled, without leave to amend. [DE 3716]. This Court has previously

   concluded that these dismissals entitled the Non-Brand Defendants to final judgments. See, e.g.,

   [DE 4595; 4664; 4665; 6310].

          The cases identified in Exhibit A are Non-Designated Cancer cases that name only Non-

   Brand Defendants, in which no final judgment has yet been entered, and in which Plaintiffs filed

   a notice of appeal. On March 2, 2023, this Court issued an indicative ruling pursuant to Rule

   62.1 in which it concluded that it would, if jurisdiction were returned by the Eleventh Circuit,

   enter a single final judgment under Rule 58. [DE 6310]. On September 8, 2023, the Eleventh


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    Non-Designated Cancers are all cancers other than bladder, esophageal, gastric, liver, and
   pancreatic cancers.
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   Circuit remanded all appeals docketed under No. 21-12618 (the “Chandler appeal”), appeal No.

   21-14325 (the “Abdoo appeal”), and appeal No. 23-10640 (the “Sanders appeal”) for further

   proceedings by this Court consistent with the indicative ruling.

          Accordingly, the Court enters RULE 58 FINAL JUDGMENT in each of the cases

   identified in Exhibit A as follows. For each case in which this final judgment is entered, the

   final judgment applies to every Defendant named in the operative pleading, such as the

   operative short-form complaint, with one exception: this final judgment does not apply to any

   claim against Defendant Par Pharmaceutical, Inc. because of the Court’s earlier order severing

   Par. See DE 6974. Final judgment is not entered in favor of any Defendant that is not named in

   the operative pleading.

        DONE and ORDERED in Chambers, West Palm Beach, Florida, this 1 4 t h day of
   November, 2023.




                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE
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                            REMANDED NON-BRAND, NON-DESIGNATED CANCER CASES
         APPELLANT                             MDL CASE NO. NOA FILED CANCER(S) NAMED
         Badore, Mark                          1:20-cv-23518     12/14/2021 Lung
         Beiber, Paul                          9:20-cv-81737     8/9/2021   Colorectal
         Bode, Frances and Donald              9:20-cv-81788     8/9/2021   Colorectal
         Chandler, Frank                       9:20-cv-81865     8/4/2021   Colon
         David, Laura Ann                      9:20-cv-81860     12/14/2021 Uterine
         Davis, Carl                           9:20-cv-81037     8/9/2021   Kidney
         Dimond, Clarence                      9:21-cv-80360     12/14/2021 Kidney
         Foster, Paxton                        9:20-cv-81642     8/9/2021   Kidney
         Foster, Sharon and Kenneth            9:20-cv-81597     8/9/2021   Breast
         Gathright, Elisa & Lewis, Mary Louise 9:20-cv-81644     8/9/2021   Breast; Kidney
         Kibbee, Michael                       9:21-cv-80418     8/6/2021   Kidney
         Kretchmar, Louise                     9:21-cv-80767     8/9/2021   Colorectal
         Lam, Raymond                          9:21-cv-80843     8/9/2021   Kidney
         LeDoux, Judith                        9:21-cv-81294     12/14/2021 Breast
         Lovette, Christine & Robie            9:20-cv-81040     8/9/2021   Breast
         Neal, Pamela                          1:20-cv-24734     12/15/2021 Colorectal
         Person, Jacqueline                    9:20-cv-81656     8/9/2021   Breast
                          1
         Spektor, Marina                       9:21-cv-81189     8/6/2021   Thyroid
         True, Sandra                          9:20-cv-81720     8/9/2021   Breast
         Winters, Michael                      9:21-cv-80201-RLR 12/14/2021 Prostate
         Yelton, Susan                         9:20-cv-81650     8/9/2021   Breast




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 This case appears on the Eleventh Circuit’s Dockets 21-12618 and 21-14325. Plaintiff filed an additional MDL Docket member
case on 8/6/2021 naming brands only, case 9:21-cv-81367. That case was dismissed in the Court’s Final Order on 7/26/2023.
